                    Case 1:25-cv-00422-CRC                 Document 9            Filed 03/07/25         Page 1 of 1

                         IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Andrea Gribbon, et al.
                            Plaintiff(s)
                                                               vs.                        Case No: 1:25-cv-00422-CRC
Elon Musk, et al.
                           Defendant(s)



                                                         AFFIDAVIT OF SERVICE

I, Ambiko Wallace, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons; Civil Cover Sheet; Notice of Right to Consent to Trial Before a United
States Magistrate Judge; Notice, Consent, and Reference of a Civil Action to a Magistrate Judge; Notice of Errata; and Class Action
Complaint in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 2/20/2025 at 12:24 PM, I served Edward R. Martin, Jr., Interim U.S. Attorney for the District of Columbia at U.S. Attorney's Office
for D.C., 601 D Street, NW, Washington, DC 20530 with the Summons; Civil Cover Sheet; Notice of Right to Consent to Trial Before a United
States Magistrate Judge; Notice, Consent, and Reference of a Civil Action to a Magistrate Judge; Notice of Errata; and Class Action
Complaint by serving Aquilla Alexander, Paralegal Specialist, authorized to accept service.

Aquilla Alexander is described herein as:

Gender:   Female         Ethnicity:   Black       Age:   26          Weight:   140            Height:   5'5"         Hair:    Black

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 02/20/2025




                                                                                                                             Ambiko Wallace

                                                                                                                Client Ref Number: 2001-451
                                                                                                                             Job #:12740838




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